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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

HISPANIC FEDERATION, et al.,

            Plaintiﬀs,

v.
                                         Case No. 4:23-cv-218-MW-MAF
CORD BYRD, in his oﬃcial capacity
as Florida Secretary of State, et al.,

            Defendants.




            PLAINTIFFS’ REPLY IN SUPPORT OF MOTION
           FOR LEAVE TO PROCEED UNDER PSEUDONYM
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                          PRELIMINARY STATEMENT

      Plaintiff A. Doe seeks to proceed under a pseudonym to protect herself against

threats of retaliation, harassment, and intimidation by the state of Florida, which has

targeted both recent immigrants and those who dissent against Florida’s legislative

assault on voter engagement. Defendants do not argue (see ECF Nos. 69 & 70) that

granting A. Doe’s motion to proceed pseudonymously in public filings would

interfere with their ability to litigate their case or the public’s understanding of the

core constitutional questions at issue. Indeed, Defendants acknowledge that courts

must balance the risks to a plaintiff seeking anonymity with any potential harm to

Defendants. Their analysis fails, because the balancing test that courts use to

routinely grant pseudonymity weighs strongly in favor of A. Doe.

      Defendants’ opposition fails in two ways. First, it fails to allege any harm to

themselves or to the public if A. Doe’s identity is protected in public filings. Nor

could it. Defendants will be able to conduct discovery on A. Doe so long as her

identity and personal information is protected; the Court and public will be able to

evaluate plaintiffs’ claims against the government without knowing A. Doe’s name.

Second, Defendants analyze each relevant factor in isolation, minimizing the harm

A. Doe faces from exposure and suggesting that pseudonymous filings are permitted

only in cases involving intimate bodily privacy. Both parts of this approach are

wrong. Failing to evaluate harm to the government or the public does not comport


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with decades of legal precedent. Courts do not limit pseudonymous status to matters

of intimate harm. In fact, they regularly protect immigrants and others in labor

matters, constitutional challenges, and other types of cases. Defendants’ position, if

accepted, would undermine vulnerable litigants’ ability to seek the courts’ protection

in cases that implicate their rights.

                                        ARGUMENT
   I.      The balance of factors requires Defendants to make some showing of
           harm should A. Doe remain pseudonymous, and they have not.

        The balancing analysis developed by courts strongly favors the granting of

pseudonyms in cases where, as here, Plaintiffs challenge governmental activity

through claims that are purely legal in nature and where they face harm if exposed

as litigants. See, e.g., Doe v. Frank, 951 F.2d 320, 323–24 (11th Cir. 1992); Doe v.

Stegall, 653 F.2d 180, 185 (5th Cir. 1981); see also Sealed Plaintiff v. Sealed

Defendant No. 1, 537 F.3d 185, 190 (2d Cir. 2008); Lozano v. City of Hazleton, 620

F.3d 170, 195 (3d Cir. 2010), vacated and remanded on other grounds, 563 U.S.

1030 (2011). Courts do not view each factor in isolation, but rather evaluate a range

of factors. Doe v. Jindal, 851 F. Supp. 2d 995 (E.D. La. 2012) (using pseudonyms

in equal protection challenge to placement on sex offender registry).           Here,

Defendants concede a crucial factor in the balancing test—that Plaintiffs challenge

government action, see ECF No. 69 at 4, ECF No. 70 at 2–3—and make no effort to



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allege prejudice to their litigation positions or to the public. This is fatal to their

opposition.

      In particular, Defendants don’t articulate any harm to their litigation position

or loss to the public if A. Doe’s identity is protected. Their position, if accepted,

would deter potential litigants from vindicating meritorious constitutional claims in

the courts, an unacceptable result that would harm the public interest. See Lozano,

620 F.3d at 195 (noting harm to public if parties were deterred from bringing cases

“clarifying constitutional rights” at the price of being publicly identified).

      First, Defendants nowhere suggest that their ability to litigate this case hinges

on A. Doe’s public exposure or that dissemination of her identity is necessary or

even helpful in defending the suit. Nor can they. Proceeding under a pseudonym

will not prevent Defendants from seeking discovery or deposing A. Doe, nor will

they be harmed in any way if, during proceedings leading up to trial, they continue

to refer to her as “A. Doe” in public filings.

      Second, Defendants make no argument that knowledge of A. Doe’s identity

as a litigant challenging unconstitutional state action furthers the public’s interest.

See generally ECF Nos. 69, 70. Nor can they. Granting A. Doe, the right to proceed

under a pseudonym would not prevent anyone from accessing information available

online about the case or the organizational plaintiffs who have brought suit. All

exposure would do is subject A. Doe, who, while here lawfully under Temporary


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Protected Status, is among the classes of immigrants who the state of Florida has

actively targeted through legislation.            See, e.g., Kaitlyn Schwanemann, Legal

advocacy groups sue Gov. DeSantis, challenging new immigration laws, NBC

Miami, July 12, 2023, https://www.nbcmiami.com/news/politics/legal-advocacy-

groups-sue-gov-desantis-challenging-new-immigration-laws/3070220/. 1

       Given that the Court has already found that Plaintiffs are likely to prevail on

the merits on their claim, it is unconstitutional to penalize non-citizen voter

registration workers like A. Doe. The public’s interest has also been served by her

ability to pursue the litigation anonymously, and the public will have lost nothing

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        See also Andrew Atterbury & Gary Fineout, DeSantis readies more migrant flights as he
intensifies       fight       with       Biden,       Politico,     May         10,       2023,
https://www.politico.com/news/2023/05/10/desantis-migrant-flights-00096216 (noting that the
administration flew nearly 50 mostly Venezuelan migrants to Martha’s Vineyard in September and
that the state has authorized more flights of migrants); Andrea Castillo, DeSantis’ treatment of
migrants divides Miami’s Venezuelan community, the nation’s largest, Los Angeles Times, June
30,     2023,    https://www.latimes.com/politics/story/2023-06-30/miami-venezuelans-desantis-
treatment-migrants (reporting:
       Samuel Vilchez Santiago, Florida director for the American Business Immigration
       Coalition, views SB 1718 as a measure to advance DeSantis’ presidential ambitions
       while creating a crisis for Floridians. Though the law shouldn’t apply to most
       recently arrived Venezuelans, who have temporary authorization to remain in the
       country through Temporary Protected Status, parole or pending asylum petitions,
       Vilchez Santiago said the bill was designed to be vague. He said he worries it will
       lead to racial profiling as sheriffs across the state who aren’t extensively trained on
       immigration law attempt to enforce it. “At the end of the day what they want to
       accomplish is send a narrative that creates this idea that Florida is not a welcoming
       place and people shouldn’t come here,” he said of DeSantis’ administration. “But
       our economy depends on people coming.”);
Christian Paz, Florida’s new immigration law previews a DeSantis presidency, Vox, July 2, 2023,
https://www.vox.com/politics/23779772/desantis-undocumented-immigrants-florida-
immigration-law-border-biden (Noting the climate of fear in migrant communities over vagueness
and ambiguities in SB 1718).


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from not knowing the name of an individual who should be able to continue her

employment without becoming a target. Indeed, Defendants acknowledge that the

purely legal nature of a challenge to government activity is a factor in determining

whether to permit pseudonyms. See ECF No. 69 at 3–4; see also ECF No. 70 at 2–

3. But they wrongly state that Plaintiffs’ motion must be denied because it is “based

on this factor alone.” Id. This mischaracterizes A. Doe’s motion, which set forth all

the factors 2 favoring pseudonymity, including the public’s interest in clarification of

constitutional questions and the harm faced by A. Doe if exposed as a litigant.

    II.      The balance of factors strongly favors permitting plaintiffs who bring
             constitutional claims against the government and who face harm if
             exposed as litigants to proceed under pseudonyms.

          Having failed to allege any prejudice to themselves or the public, Defendants

proceed to misapply the balancing test put forth in Eleventh Circuit case law, see

generally ECF No. 69; see also ECF No. 70, which emphasizes a “totality of

circumstances” analysis in evaluating requests for pseudonymity. Doe v. Neverson,

820 F. App’x 984, 986 (11th Cir. 2020); Frank, 951 F.2d at 324. Instead, Defendants

analyze each factor in isolation, minimizing the risks to Plaintiff Doe at each step.



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        See ECF No. 33 at 3–4. As a “first step,” the court must consider “whether the party
seeking anonymity”: (1) is challenging government activity; (2) would be compelled, absent
anonymity, to disclose information of the utmost intimacy; or (3) would be compelled, absent
anonymity, to admit an intent to engage in illegal conduct and thus risk criminal prosecution. Id.
(quoting Chiquita, 965 F.3d at 1247). Other potentially relevant factors to consider include
whether the information disclosed would subject the litigant to social stigma or if that information
could lead to harm to the litigant. See id. at 988; Frank, 951 F.2d at 324.
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         A. Temporary immigration status is sufficient to warrant
            pseudonymity in suits against a state that has targeted immigrants
            and voter activity for enforcement.

      Defendants are wrong to contend that Doe’s immigration status falls outside

of the range of factors used by courts to grant pseudonymous status. The “standard

of utmost intimacy,” ECF No. 69 at 4–5, ECF No. 70 at 4, is not limited to instances

of bodily harm or personal medical information; numerous courts have recognized

that immigration status is sufficiently sensitive to warrant use of pseudonyms. See,

e.g., Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1069 (9th Cir.

2000) (crediting plaintiffs’ immigration status as one of several factors weighing in

favor of allowing plaintiffs to proceed anonymously against an employer); Lozano,

496 F. Supp. 2d at 490 (plaintiffs “with a more tenuous [immigration] status have an

exponentially greater concern over the dangers of participating in a lawsuit that has

generated . . . intense sentiment” and granting pseudonymous status in suit against

local government); Int’l Refugee Assistance Project v. Trump, No. 17-cv-0361, 2017

WL 818255, at *2 (D. Md. Mar. 1, 2017) (immigration status “sufficiently sensitive

and personal in nature to support plaintiffs’ use of pseudonyms under appropriate

circumstances”); Lozano, 496 F. Supp. 2d at 490 (plaintiffs “with a more tenuous

[immigration] status have an exponentially greater concern over the dangers of

participating in a lawsuit that has generated . . . intense sentiment”; granting

pseudonymous status in suit against local government).


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      Ultimately, while defendants contend that the distinction between individuals

with lawful immigration status and individuals with unlawful immigration status is

significant as to cut against our argument for pseudonymity, they offer no evidence

at all that the distinction in any way lessens the risk of exposure to harm that our

client may face from the state, media or the public from their involvement in the

case. Nor must A. Doe show that the threat she faces is from federal immigration

authorities, who already know her identity. To the contrary, although her status is

temporary, she faces risks not from the federal government, but from the state of

Florida and supporters of its efforts to target immigrants. Recent immigrants with

temporary status, like A. Doe, have been targeted for harassment, state enforcement,

and intimidation, including through legislation that has passed, legislation that has

been proposed, and increasingly volatile rhetoric from government authorities.

See, e.g., supra at pp. 4–5.

      These risks are even more pronounced because A. Doe seeks to vindicate her

First Amendment and Equal Protection rights in the act of registering and assisting

voters. The state of Florida has targeted voting, voter registration, and voter

engagement for high-profile investigations, fines, and even prosecutions. The state’s

assurances that it will refrain from harmful or retaliatory conduct towards our client

rings hollow and offers is no real protection from prosecution or fines in a state that

has made highly visible arrests of individuals who voted in error—even when the


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state itself assured them that they were entitled to do so. See, e.g., Lori Rozsa, The

first arrests from DeSantis’s election police take extensive toll, Wash. Post, May 1,

2023,         https://www.washingtonpost.com/nation/2023/04/30/desantis-election-

police-arrests-florida/.

          B. Plaintiff need not show risk of physical harm to proceed under a
             pseudonym.

        Contrary to Defendants’ contention, ECF No. 69 at 6–7; ECF No. 70 at 4–5,

neither the Eleventh Circuit nor any other Court of Appeals has required that an

individual seeking to proceed pseudonymously prove “real danger of physical

harm.” Courts have instead relied on news articles, declarations, and other relevant

evidence that the individual could face harm absent pseudonymity. See Neverson,

820 Fed. App’x 984, 988–89 (11th Cir. 2020) (overturning denial of pseudonymity

because the trial court “too easily discounted evidence that Ms. Doe would be subject

to threats and harassment if she were required to proceed under her real name”).

Relying on Doe v. Stegall, a First Amendment challenge in Texas, the Neverson

Court pointed out that pseudonyms are appropriate when individuals “may expect

extensive harassment . . . if their identities [were] disclosed[.]” Id. at 988 (emphasis

added). Courts regularly use information in the public domain such as news reports

to permit plaintiffs to proceed pseudonymously. Id.

        Nor should A. Doe have to suffer actual harm to show the need to shield her

identity. Unlike the hundreds of plaintiffs in Carrizosa v. Chiquita Brands Int’l, Inc.,

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A. Doe is a single individual suing the state of Florida for a discriminatory law which

unjustly bars her from engaging in voter registration on the basis of her alienage. In

re: Chiquita Brands Int’l, Inc., 965 F.3d 1238 (11th Cir. 2020). And the state of

Florida has a pronounced recent track record of targeting both recent immigrants and

those engaged in voter registration efforts. See, e.g., supra at pp. 4–5; see also

Brandon Larrabee, Suit seeks to block new Florida elections bill, Florida Times

Union, June, 04, 2011, https://www.jacksonville.com/story/news/2011/06/04/suit-

seeks-block-new-florida-elections-bill/15901331007/ ; see generally also League of

Women Voters of Fla., Inc. v. Lee, 595 F. Supp. 3d 1042 (N.D. Fla. 2022), aff’d in

part, vacated in part, rev’d in part sub nom.

      Contrary to Defendants’ suggestion, the decision by other plaintiffs to come

forward, including those with more permanent immigration status, has no bearing

on A. Doe’s risk. That others have chosen to identify themselves publicly—in one

case, with their employer’s support—does not show that they or A. Doe are protected

from reprisals.

                                      *   *     *

      A. Doe’s decision to vindicate her rights should not be penalized by exposure

to amplified publicity from the very Defendants she sues. A. Doe should be

permitted to proceed under a pseudonym because of Defendants’ failure to articulate




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any prejudice to themselves and the public, and because of A. Doe’s strong showing

that she will suffer grave risks if she is publicly identified.

                                    CONCLUSION
      The Court should grant A. Doe’s motion to proceed under a pseudonym in

public filings.

                     LOCAL RULE 7.1(F) CERTIFICATION

      Undersigned counsel, Julie A. Ebenstein, certifies that this reply in support of

Plaintiffs’ Motion for Leave to Proceed Under Pseudonym contains 2,416 words,

excluding the case style and certifications.




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               Respectfully submitted this 13th day of July, 2023,


                                            /s/ Julie A. Ebenstein

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                 Motion for leave to appear pro hac vice forthcoming




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 13th day of July 2023, I electronically

filed the foregoing with the Clerk of the Court by using the CM/ECF system, which

will send a notice of electronic filing to all counsel of record.


                                        /s/ Julie A. Ebenstein
                                        Julie A. Ebenstein
                                        Florida Bar No. 91033




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